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U.S. DISTRICT COURT
NORTHERN NLED OF TEXAS

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION CLERK, U.S. DISTRICT COURT

fA
By UE" Deputy

SEP 22 2021

UNITED STATES OF AMERICA FILED UNDER SEAL
Nowe 21 CP-NTRW7

Vv.

DON ERIC WOLTERS (01)
WILLIAM DANIEL HASKINS (02)
ALLEN CHASE WATSON (03)
a/k/a “Ghost”
KRISTEN NICOLE ARCENEAUX (04)

GOVERNMENT'S MOTION TO SEAL INDICTMENT

The United States of America (“the government”), by and through the United
States Attorney for the Northern District of Texas, moves for an order sealing the
indictment returned by the grand jury in the above-captioned criminal case. The
government requests that the indictment remain sealed until such time as all defendants
are apprehended and all have made an initial appearance in federal court, or until further
order of the Court. The government believes that the public release of the names of
indicted defendants who have not been apprehended would undermine the pursuit of
justice.

The government, however, requests that the case against an individual defendant
be unsealed upon that defendant’s apprehension or initial appearance in federal court.
The government also requests that it be allowed to provide an apprehended defendant

with a copy of the indictment that redacts the names of other defendants who have not

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been apprehended, as well as any charge that does not affect the apprehended defendant.

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Respectfully submitted,

PRERAK SHAH
ACTING UNITED STATES ATTORNEY

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